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                            UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF KANSAS

CHAD EDWARD WEISS,                                    )
                                                      )
                      Plaintiff,                      )
                                                      )      Case No. 5:18-cv-03112-SAC
vs.                                                   )
                                                      )
CORRECT CARE SOLUTIONS, et al.,                       )
                                                      )
                      Defendants.                     )


 REPLY IN SUPPORT OF THE SEDGWICK COUNTY DEFENDANTS’ MOTION TO
               DISMISS AND MEMORANDUM IN SUPPORT

       COME NOW, on this 16th day of March, 2020, Defendant Sedgwick County Sheriff Jeff

Easter, Lt. Woodson, and Sgt. Tucker, through their attorney, Kevin T. Stamper, Assistant County

Counselor, and hereby submit this Reply in Support of their Motion to Dismiss. These Moving

Defendants timely filed their Motion on January 9, 2020 [Doc. 58]. This Reply is also intended to

address Plaintiff’s Response to the Order to Show Cause [Doc. 68]. As their Reply, these Moving

Defendants allege and state as follows, to-wit:

                                   NATURE OF THE CASE

       Plaintiff has named a variety of Defendants, including various medical providers, the Sheriff

of Sedgwick County, and a number of deputies, alleging that he was denied medical care,




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constituting alleged Constitutional violations, pursuant to the Eighth and Fourteenth Amendments.

Since the constitutional deprivation alleged is founded in failure to provide or some manner of denial

of competent care, Plaintiff must establish: (1) The named Defendants here had a duty to provide

care and that same must meet a legally-defined standard; (2) that these Moving Defendants, breached

a duty they owed Plaintiff; (3) that Plaintiff sustained injuries; and (4) those injuries were caused by

some deviation from the standard of care by these Moving Defendants. Puckett v. Mt. Carmel

Regional Medical Center, 290 Kan. 406, 420, 228 P.3d 1048 (2010). It should be noted that these

Moving Defendants are not health care providers utilizing any definition provided by Kansas law.

                                    PROCEDURAL HISTORY

       Plaintiff filed his Complaint on April 30, 2018 [Doc. 1], and on or about July 3, 2018, the

Court Ordered Plaintiff to show cause as to why the claims against these Moving Defendants should

not be dismissed, indicating:

               Plaintiff has failed to allege how the named CCA medical providers
               personally participated in the deprivation of his constitutional rights.
               An essential element of a civil rights claim against an individual is
               that person’s direct personal participation in the acts or inactions
               upon which the complaint is based. Kentucky v. Graham, 473 U.S.
               159, 165–66 (1985); Trujillo v. Williams, 465 F.3d 1210, 1227 (10th
               Cir. 2006); Foote v. Spiegel, 118 F.3d 1416, 1423–24 (10th Cir.
               1997). Conclusory allegations of involvement are not sufficient. See
               Ashcroft v. Iqbal, 556 U.S. 662, 676 (2009) (“Because vicarious
               liability is inapplicable to . . . § 1983 suits, a plaintiff must plead that
               each Government-official defendant, through the official’s own
               individual actions, has violated the Constitution.”). As a result, a
               plaintiff is required to name each defendant not only in the caption of
               the complaint, but again in the body of the complaint and to include
               in the body a description of the acts taken by each defendant that
               violated plaintiff’s federal constitutional rights.
                        Any amended complaint filed by Plaintiff should name each
               individual defendant as directly involved in each scenario and
               describe the acts or inactions of that person which allegedly violated
               his constitutional rights.




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               a.      Sheriff Easter

                       Plaintiff has failed to allege any personal involvement by
               Defendant Easter. The claims against Sheriff Easter require proof
               that he personally committed a constitutional violation. Keith v.
               Koerner, 843 F.3d 833, 837–38 (10th Cir. 2016) (citing Ashcroft v.
               Iqbal, 556 U.S. 662, 676 (2009) (“Because vicarious liability is
               inapplicable to . . . § 1983 suits, a plaintiff must plead that each
               Government-official defendant, through the official’s own individual
               actions, has violated the Constitution.”)). It is not enough that a
               defendant acted in a supervisory role when another defendant violated
               a plaintiff’s constitutional rights. Keith, 843 F.3d at 838.
                       Plaintiff “must show an affirmative link between [Easter] and
               the constitutional violation, which requires proof of three interrelated
               elements: (1) personal involvement; (2) causation; and (3) state of
               mind.” Id. (internal quotation marks omitted) (citing Schneider v.
               City of Grand Junction Police Dep’t., 717 F.3d 760, 767 (10th Cir.
               2013) (quoting Dodds, 614 F.3d at 1195)). Because Plaintiff has
               failed to allege any personal involvement by Defendant Easter, his
               claims against him are subject to dismissal.

[Doc. 7 at 5-6].

       Plaintiff filed his Amended Complaint [Doc. 27] on April 24, 2019, following a protracted

period where the case had been dismissed and reopened. The Amended Complaint was subjected to

the screening process and the Court Ordered that a Martinez Report be submitted [Doc. 28]. The

Martinez Report was prepared by counsel for these Moving Defendants, and submitted on December

10, 2019 [Doc. 51]. As the Court had not acted by the deadline for a responsive pleading, these

Moving Defendants filed their Motion to Dismiss [Doc. 58]. Plaintiff filed no Response specifically

to Document 58, but instead provided Document 68, a Response to the Court’s Order to Show Cause

[Doc. 66].

                             ARGUMENTS AND AUTHORITIES

       In his March 10, 2020 filing [Doc. 68], Plaintiff was to either: (1) explain, in writing, why he

did not file a timely respose to these Defendants’ Motion to Dismiss or (2) file his response to these




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Defendants’ Motion to Dismiss. Document 68 fails to mention Sheriff Easter, Lt. Woodson, or Sgt.

Tucker at all, let alone respond substantively or procedurally to the Motion to Dismiss. Further,

Plaintiff has failed to state any good (or other) reason that he failed to respond to the pending

Motion. Indeed, his only claim is that he did not know he was supposed to file a response. None of

this accounts for his actions taken after the February 26, 2020 Order of the Court, wherein the

opportunity to file a Response to Defendants’ Motion to Dismiss was provided, granting until March

10, 2020 to do same, and Plaintiff still failed to do so.

        In Document 66, the Court’s Order to Show Cause, indicates that if Plaintiff failed to show

good cause for his failure to file a Response, and failed to file such a response, that the Court would

take up Defendants’ Motion to Dismiss “without benefit of Plaintiff’s response.” [Id. at 2]. Plaintiff

failed to avail himself of that opportunity, and has indeed failed in his obligation to specifically state

the actions or inactions of Sheriff Easter, Lt. Woodson, or Sgt. Tucker giving rise to viable claims

against them. As a result, Defendants’ Motion should proceed on the merits.

                                           CONCLUSION

`       Plaintiff claims he was subjected to cruel and unusual punishment, in violation of his rights

under the Eighth and Fourteenth Amendments, solely based on the medical care provided him while

an inmate at the Sedgwick County Adult Detention Facility. These Defendants never provided

medical care, nor deprived Plaintiff of an opportunity to obtain same. These considerations, as set

forth in the Martinez Report and the Motion to Dismiss, as well as the qualified immunity of these

Moving Defendants, required dismissal of the instant action.




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                                              OFFICE OF THE COUNTY COUNSELOR

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                                              Assistant County Counselor
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                                CERTIFICATE OF SERVICE

       The undersigned hereby certifies that a true and correct copy of the above Reply in Support of

Motion and Memorandum was filed via the Electronic Filing System on the evening of the 16th day

of March, 2020, and was mailed by placing the same in the United States Mail, postage prepaid, to:


               Chad Edward Weiss
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               Wichita, Kansas 67203



                                              OFFICE OF THE COUNTY COUNSELOR

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